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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA
                               BATON ROUGE DIVISION



LANCE BROWN                                       §
                                                  §
                 Plaintiff                        §
                                                  §
v.                                                §   Civil Action No. 3:16-cv-00322
                                                  §
                                                  §   Honorable Judge James J. Brady
PORTFOLIO RECOVERY ASSOCIATES;                    §          Article III Judge
and EXPERIAN INFORMATION                          §
SOLUTIONS, INC.                                   §   Honorable Richard L. Bourgeois, Jr.
                                                  §           Magistrate Judge
                                                  §
                                                  §
                 Defendants                       §


         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN
                       PLAINTIFF LANCE BROWN AND
                   PORTFOLIO RECOVERY ASSOCIATES, LLC

       Plaintiff Lance Brown (hereinafter “Plaintiff”) and Defendant Portfolio Recovery

Associates, LLC (hereinafter “Portfolio”) stipulate, pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), to

dismiss this action with prejudice.

       There are no longer any issues in this matter between Plaintiff and Portfolio to be

determined by this Court. The Parties hereby stipulate that all claims or causes of action against

Portfolio which were or could have been the subject matter of this lawsuit are hereby dismissed

with prejudice, with all costs and attorney fees to be paid by the party incurring same.
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Dated: November 2, 2016

                                           Respectfully submitted,

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And ;

                                           /s/ D. Michael Dendy
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                                           Counsel for Defendant Portfolio Recovery
                                           Associates, LLC

                               CERTIFICATE OF SERVICE

         I hereby certify that on the 2nd day of November, 2016, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the attorneys on record:


                                              /s/ Jonathan Raburn
                                              Jonathan Raburn
